                                                                                         Case 2:18-cv-02340-GMN-NJK             Document 10       Filed 01/07/19      Page 1 of 2




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                                                                                         7   Attorney for Defendants CITY TOWING, INC. d/b/a QUALITY TOWING and
                                                                                             URT UNITED ROAD TOWING, INC.
                                                                                         8
                                                                                         9                                 UNITED STATES DISTRICT COURT

                                                                                        10                                     DISTRICT OF NEVADA

                                                                                        11
                  7251 West Lake Mead Boulevard  Suite 300  Las Vegas, Nevada 89128




                                                                                        12   CARLOS RAMOS PACUSSICH                              Case No.: 2:18-CV-02340-GMN-NJK
                                                                                                                                                 Dept. No.: 31
                          PHONE (702) 256-5589  FACSIMILE (702) 240-4896




                                                                                        13                  Plaintiff,
                                                                                        14          v.                                           CERTIFICATE OF SERVICE BY MAIL
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                                                                                        15   WESTLAND TARA VISTA, LLC; AF
                                                                                             PROPERTIES 2015, LLC; CITY TOWING,
                                                                                        16   INC.; QUALITY TOWING; 2024 LOSEE
                                                                                        17   PROPERTIES, LLC; AND URT UNITED
                                                                                             ROAD TOWING, INC.,
                                                                                        18
                                                                                                            Defendants.
                                                                                        19
                                                                                        20          I hereby certify that on the 7th day of January, 2019, I served a true and correct copy of:

                                                                                        21   1) DEFENDANTS CITY TOWING, INC. d/b/a QUALITY TOWING and URT UNITED

                                                                                        22   ROAD TOWING, INC.’s ANSWER TO COMPLAINT and DEMAND FOR JURY TRIAL, 2)
                                                                                        23   CERTIFICATE OF INTERESTED PARTIES, and 3) CERTIFICATE OF SERVICE BY MAIL,
                                                                                        24   by placing a true and correct copy of the same in the United States Mail with postage prepaid and
                                                                                        25   addressed to the following:
                                                                                        26   ///
                                                                                        27   ///
                                                                                        28
                                                                                             ///



                                                                                                                                       Page 1 of 2
                                                                                         Case 2:18-cv-02340-GMN-NJK      Document 10    Filed 01/07/19   Page 2 of 2




                                                                                         1   CARLOS RAMOS PACUSSICH
                                                                                             3915 Tara Avenue, Apt. #6
                                                                                         2   Las Vegas, NV 89102
                                                                                         3   Plaintiff in Pro Se

                                                                                         4
                                                                                                                                /s/ Angela Bangert
                                                                                         5                                      An employee of SIDRAN LAW CORP
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